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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

BANCO SAN JUAN INTERNACIONAL, INC.,

Plaintiff,
23-cv-6414 (JGR)
- against -
ORDER

THE FEDERAL RESERVE BANK OF NEW
YORK, ET AL.,

Defendants.

JOHN G. KOELTL, District Judge:

The request by BSJI for an injunction pending appeal of
this Court’s October 24, 2023 order denying a preliminary
injunction that sought to require the FRBNY to maintain BSJI’s
Master Account is denied, except the FRBNY is ordered to
maintain BSJT’s Master Account, together with the transaction
monitor that has been in place, pending an application to the
Court of Appeals for any stay or injunction pending the appeal
of this Court’s denial of the preliminary injunction. This
temporary injunction will remain in place until November 9,
2023.

SO ORDERED,

Dated: New York, New York a oe
October 26, 2023 me (

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/ /dohn G. Koelti
Unitéd States District Judge

